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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND
                                 GREENBELT DIVISION 2 E11                   P 03

EQUAL EMPLOYMENT OPPORTUNITY                        )
COMMISSION,                                         )
                                                    )
               Plaintiff,                           )
                                                    )      Civil Action No. 8:17-cv-02316-GJH
               v.                                   )
                                                    )
DEPENDABLE HEALTH SERVICES, INC.,                   )
                                                    )
               Defendant                            )
                                                    )

                                       CONSENT DECREE

       This actian was instituted by Plaintiff Equal Employment Opportunity Commission (the

"EEOC" or the "Commi3Kon") against Defendant Dependable Health Services, Inc.

("Defendant' or "DHS"), alleging Defendant violated Sections 102(a) and (b) of Title I of the

Americans with Disabilities Act ("the ADA") of 1990, as amended through the ADA

Amendments Ad of 2008, 42 U.S.C. § 12112(a) and (b), and Title I of the Civil Rights Act of

1991 ("Title 1"), Dy failing to provide Charging Party Sheena Berry ("Berry") a reasonable

accommndation br her disability and discharging her because of her disability (the "Claims").

       The parties desire to resolve the Commission's action without the time and expense of

continued litigation, and to formulate a plan to be embodied in a Decree which will promote and

effectuate the purposes cif the ADA.

       The Court has examined this Decree and finds it is reasonable and just and in accordance

with the Federal Rules of Civil Procedtre, the ADA and Title 1. Therefore, upon due

consideration of the reconi and being fully adNised in the premises, it is ORDERED,

ADJUDGED AND DECREED:
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                                          Scone of Decree

         1.      This Decree resolves all issues and Claims in the Complaint filed by the EEOC in

this action, ("the Complaint"), which emanated from the Charge of Discrimination filed by

Sheena Berry. This Decree does not affect the EEOC's right to process any other pending or

future charges of discrimination that may be filed against Defendant and to commence civil

actions as a result of such charges of discrimination that the Commission sees fit.

         2.     This Decree shall be in effect for a period of five (5) years from the date it is

entered by the Court. During that time, this Court shall retain jurisdiction over this matter and the

parties for purposes of enforcing compliance with the Decree, including issuing such orders as

may be required to effectuate the purposes of the Decree. If Defendant does not meet the

established terms at the end of five years, the duration of the Decree may be extended by the

Court.

         3.     Except as otherwise specified in this Decree, the terms of this Decree apply to all

of Defendant's fazilities.

         4.     This Decree, being entered with the consent of the parties, does not constitute an

adjudication or finding on the merits of this action, and DHS denies the Claims.

                                          Monetary Relief

         5.     Within ten (10) business days of entry of this Decree, Defendant shall pay Sheena

Berry monetary relief in the total amount of $38,000, representing $16,851.40 in back-pay will

interest, and $21,148.60 in non-pecuniary compensatory damages. Defendant will issue Berry an

IRS Form 1099 for the 2017 tax year for the non-pecuniary damages amount and an IRS W-2

form for the 2017 tax year for the back-pay amount. Defendant shall make all legally required

withholdings front the back-pay amount. The checks and IRS forms will be sent directly to

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Berry, and a photocopy of the checks and related correspondence will be mailed to the EEOC,

Baltimore Field Office, George H. Fallon Federal Building, 31 Holkins Plaza, Suite 1432,

Baltimore, Maryland 21201 (Attention: Trial Attorney Amber Trzinski Fox).

       6.      Defendant shall provide Berry, within ten (10) days of the entry of this Decree,

with five copies of a neutral letter of reference, on DHS letterhead, setting forth, at a minimum,

the following: Berry's dates of employmem, position, and work location (the "Letter"). In

response to (a) a written inquiry received by DHS concerning Berry from a potential employer,

headhunter, or other person, Defendant shall provide a copy of the Letter and (b) any verbal

inquiry received by DHS concerning Berry from a potential employer, headhunter, or other

person inquiring about Berry's employmen-. history with Defendant, Defendant shall provide a

neutral reference concerning Berry, indicating the following: Berry's dates of employment,

position, and work location.

                                        Injunctive Relief

       7.      Defendant, its efficers, agen-.s, servants, employees, and all persons acting or

claiming to act in their behalf and interest are enjoined from denying reasonable

accommodations to qualified individuals with disabilities and violating the provisions of the

ADA, and related regulations, including the following provisions:

       No covered entity shall discriminate against a qualified individual on the basis of
       disability in regard to...discharge of employees... and other terms, conditions, and
       privileges of employment.

42 U.S.C. § 12112(a).

       [T]he term 'discriminate against a qualified individual on the basis of disability' includm.
       ...not making reasonable accommodations to the known physical or mental limitations of
       an otherwise qualified individual with a disability....

42 U.S.C. § 12112(b)(5).

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                                    Policies and Procedures

       8.       Within twenty (20) days of entry of this Decree, Defendant shall revise and

distribute its existing Reasonable Accommodations Policy (the "Policy") to explicitly include

reassignment and reinstatement as reasonable accommodations.

                                         ADA Training

       9.       Within five (5) montis from the entry of this Decree, Defendant shall conduct a

live (by speaker(s) and/or by video) two-hour training session for all management, supervisory,

and human reso „trees employees on the ADA. Specifically, the training will cover all areas of

prohibited ADA employment discrimination, with a special emphasis on reasonable

accommodations, including reassignment and reinstatement, and the duty to engage in an

interactive process with employees regarding reasonable accommodations. The training will also

specifically adthess the revision to Defendant's Reasonable Accommodations Policy discussed

in Paragraph 8 above. The training shall be conducted by outside organi7ation or law firm

speakers(s) and/or by video, selected by Defendant and approved by the EEOC, who has

experience with laws prohibiting employment discrimination.

       10.     Defendant will also provide the training to all new management, supervisory, and

human resources employees within sixty (60) days of their hire or initial promotion to a

management position. Training for new management, supervisory, and human resources

employees may be pre-recorded and -presented by video.

       11.     In years two through five of the Decree, Defendant shall provide an annual

training consisting of one hour of live training or one hour of computer-based training covering

all areas of prohibited ADA employment discrimination, with a special emphasis on reasonable

accommodations, including reassignment and reinstatement, the duty to engage in an interactive

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process, and the revision :o Defendant's Reasonable Accommodations Policy discussed in

Paragraph above. A question and answer session shall follow each training session.

          12.      Within ten (13) b-Isiness days of completing its live two-hour training as

discussed in Paragraph 9 above, Cefendant will provide the EFOC w_th written documentation

that the training occurred, inzlucing the date the training was com?leted, and a signed attendance

list identifying the name and job title for all attendees. In years two though five of the Decree,

Defendant will provide \Kitten documentation that the training occurred, indudir_g the signed

attendance list, with its next due qaarterly report described in paragraph 16 c f the Decree.

                                          Notice and Postinas

          13.      Within ten (10) business days of entry of this Decree, Defendant will post and

cause to remain posted the posters required to be displayed in the workplace by Commission

Regulations, 29 C.F.R. § 1601.30, in all places where notices to employees customarily are

posted.

          14.     Within ten (10) business days of entry of this Decree, Defendant will also post in

all places where notices are customarily posted for employees, the Nctice attached as Exhibit A

("Notice to Employees"). The Notce shall be posted and maintained for the duration of the

Decree and shall be signed by Defendant's owner or corporate representative with the date of

actual post_ng shown. Should the Notice become defaced, marred, or 3therw_se made unreadable.

Defendant will ensure that new readable copies of the Notice are posted in the same manner as

specified above. With its next quarterly report described in paragraph 16 of tne Decree,

Defendant snail forward to the Commission's Baltimore Field Office a copy of the signed

Notice, writen certification that the Notice has been posted, and a sta:ement describing the

location(s) and date of posting.

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                                     Monitorin2 Provisions

       15.      The EEOC has the right to monitor and review compliance with this Decree.

       16.      On a quarterly basis, for the duration of this Decree, and one month before the

exhiration of this Decree, Defendant must submit written proof by declaration in accordance with

28 U.S.C. §1746 sent to the IMOC confirming it has complied with each of the then current

requirements set forth in the Decree. Such proof must include, but need not be limited to, a

declaration by a person with knowledge of the recited facts establishing: (a) the completion of

training; (b) that the revised Pol_cy has been distributed and remains posted in accordance with

this Decree; (c) that DHS has complied with the injunctive relief requested in this Decree; gni

(d) notifying the Commission of all complaints alleging disability discriminaton, as set forth

below in Paragraph 17.

       17.      Defendant      submit to the Commission a list of all its employees who have

complained of or reported any aleged discrimination in employment on the basis of disability

curing the duration of this Decree. This. list will include each individual's name; home address;

home telephone number; natire of the individual's complaint; name of individual who received

the complaint or report; date complaint or report was received; description of Defendant's

actions taken in response to the complaint or report, including the name of each manager or

supervisor involved in those actions. If no individuals have complained of or reported any

disthmination in employment on the basis of disability during that quarter, Defendant will

confirm in writing to the EEOC that no such complaints were made during the quarter.

       18.     Within ten (10) days of execution of this decree, Defendant shall send a

memorandum, signed by Defendant's cwner or corporate representative, to all employees,

supervisors, managers, and officers, emphasizing Defendant's commitment to abide by all

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federal laws prohibiting discrimination _n employment on the basis of disability. Defendant will

seek and obtain the EEOC's approval of the memorandum prior to distribution.

        19.      The EEOC may monitor compliance during the duration of this Decree by

inspection of Defendant's premises, records, and interviews with employees at reasonable times.

Upon fourteen (14) days' notice by the EEOC, Defendant will make available br inspection and

copying any records requested by the EEOC, facilities sought to be inspected by the EEOC, and

employees sought to be interviewed by :he EEOC in the attendance of DHS's c3unsel

        20.      For the duration of this Decree, Defendant must create and maimain such records

as are necessary to demonstrate its compliance with this Decree and 29 C.F.R. §1602 et seq. and

maintain an updated EEO poster in compliance with 42 U.S.C. §2000e-10.

                                     Miscellaneous Provisions

       21       All materials required by this Decree to be provided to the EEOC shall be sent by

e-mail to Amber Trzinski Fox, EEOC Thal Attorney, at amber.fox@eeoc.gov, and by certifid

mail to Amber Trzinski Fox, EEOC Trial Attorney Baltimore Field Office, Geocge H. Fallon

Federal Building, 31 Hopkins Plaza, Suite 1432, Baltimore, Maryland 21201-2f25.

       22.      The Commission and Defendant shall bear their own costs and a:torneys' fees.

       23.      The undersigned counsel of record in the above-captioned action hereby consent,

on behalf of their respective clients, to the entry of the foregoing Decree.




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FOR PLAINTIFF:                                       FOR DEFENDANT:

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Counsel for Planitiff Equal Employmen:
Opportunity Commission


      SO ORDERED.
                                 v+k,
       Signed and entered this     day of 41/'              , 2017.




                                            The Honorable George J. Hazel
                                            United States District Court Judge




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